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               UNITED STATES DISTRICT COURT

              SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION                                      FILED
                                                                        Scott L. Poff, Clerk
                                                                     United States District Court

UNITED STATES OF AMERICA           )                             By jburrell at 4:00 pm, May 21, 2018

                                   )
v.                                 )            CR417-208
                                   )
EUGENE ALLEN                       )

                                 ORDER

     Defendant Eugene Allen has been charged, along with nineteen co-

defendants, with drug crimes.          Doc. 234-1 at 2.     One of those co-

defendants, Charmaine Sims, moved to suppress wiretap evidence.

Doc. 233. Allen moved to adopt that motion. Doc. 234. In seeking to

adopt it, he volunteers that “he may file a memoranda [sic] in support

thereof.” Id. at 2 (emphasis added). Sims and the Government have

notified the Court that they have reached a plea agreement, though it

has not been accepted. See doc. 322. In light of that agreement, Sims’

pending motions were denied as moot.          Doc. 323.     The Government,

therefore, opposes Allen’s request to adopt the motion. Doc. 362.

     The substance of Sims’ motion indicates how its arguments might

apply to Allen. Doc. 234-1 at 4-5 (explaining that wiretap was authorized

for a Kelvin Carswell, but surveillance persisted after the phone was sold

to Allen). Thus, Allen’s motion to “adopt” it is GRANTED. However,
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Allen must provide a factually supported explanation of his own

arguments   for   suppression.      Accordingly,   he   must    submit   a

memorandum, compliant with Local Rule 12.1. Given counsel’s granted

leave of absence through June 19, 2018, the memorandum must be

submitted no later than June 26, 2018. The Government’s response is

due within 14 days of service of that memorandum. To accommodate

that schedule, defense counsel’s request to continue the hearing

currently scheduled for June 5, 2018 is GRANTED.

     SO ORDERED, this 21st day of May, 2018.




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